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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JASON BROWN,                                   )
                                               )
          Plaintiff,                           )
                                               )
v.                                             )       Case No.:
                                               )
                                               )
474 NORTH LAKE SHORE DRIVE                     )
CONDOMINIUM ASSOCIATION,                       )
                                               )
          Defendant.                           )
                                               )


              PLAINTIFF’S COMPLAINT WITH DEMAND FOR JURY TRIAL

       COMES NOW the Plaintiff, JASON BROWN (“Plaintiff” or “Brown”), files his

Complaint against the Defendant, 474 NORTH LAKE SHORE DRIVE CONDOMINIUM

ASSOCIATION (“Defendant” or “474”), and states the following:

                                   NATURE OF THE CLAIMS

     1.          This is an action for monetary damages and injunctive relief, pursuant to Title VII

of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq. (“Title VII”), and the

Civil Rights Act of 1866, 42 U.S.C §1981, as amended by the Civil Rights Act of 1991 (“Section

1981”) to redress Defendant’s unlawful employment practices against Plaintiff, including

Defendant’s unlawful discrimination and retaliation against Plaintiff because of his race, leading

to his unlawful termination.




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                                   JURISDICTION AND VENUE

      2.        This Court has jurisdiction of the claims herein pursuant to 28 U.S.C. §§ 1331 and

1343(a)(4) as this action involves federal questions regarding the deprivation of Plaintiff’s rights

under Title VII and Section 1981.

      3.        Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because a

substantial part of the events or omissions giving rise to this action, including Defendant’s

unlawful employment practices alleged herein, occurred in this District.

                                           THE PARTIES

      4.        Plaintiff, Brown, is a citizen of the United States was at all times material, a resident

of the State of Illinois.

      5.        Defendant, 474 is a For-Profit Corporation that operated in this district at 505 e.

Illinois, 2nd Flr, Chicago, IL 60601.

      6.        Defendant is an employer as defined by the laws under which this action is brought

and employs the requisite number of employees.

                               PROCEDURAL REQUIREMENTS

      7.        Plaintiff has complied with all statutory prerequisites to filing this action.

      8.        On January 3, 2022, Plaintiff dual-filed a timely claim with the Equal Employment

Opportunity Commission (“EEOC”), and the Illinois Department of Human Rights (“IDHR”) against

Defendant, satisfying the requirements of 42 U.S.C. § 2000e5(b) and (e) based on race

discrimination, and retaliation.




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      9.            Plaintiff’s EEOC charge was filed within three hundred (300) days after the alleged

unlawful employment practices occurred.

     10.            On February 15, 2023, the EEOC issued a Notice of Right to Sue.

     11.            This complaint was filed within ninety (90) days of Plaintiff’s receipt of the

EEOC’s Notice of Right to Sue.

                                       FACTUAL ALLEGATIONS

     12.            Plaintiff is an African American male.

     13.            Plaintiff began working for Defendant on or about October 5, 2018.

     14.            In a July 2021 meeting, Defendant’s Property Manager, Bill Laborski (Caucasian),

read the word “nigger” out loud while reading an incident report.

     15.            Specifically, Mr. Laborski stated, “Kelvin said you called him a bitch ass nigger.”

     16.            Plaintiff informed Mr. Laborski that it is not appropriate to read the word, “nigger,”

out loud, even if he was just reading off a paper, in the presence of an African American employee

or to say at all.

     17.            Mr. Laborski responded by stating, “I have said it before. It’s not a problem.”

     18.            On or about August 20, 2021, Plaintiff filed a charge with the EEOC because of

Mr. Laborski’s conduct.

     19.            In retaliation for Plaintiff’s engagement in protected activity and his opposition to

Defendant’s discriminatory conduct, Mr. Laborski began to make false allegations about Plaintiff.

     20.            On or about September 10, 2021, Mr. Laborski called Plaintiff and told him that

Plaintiff was suspended without pay until further notice.

     21.            Plaintiff was not given the opportunity to make a statement regarding the


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unwarranted suspension.

      22.       Very soon after, on or about September 17, 2021, Defendant terminated Plaintiff

under pretext because of his race, and in retaliation to opposing Mr. Laborski’s discriminatory

conduct.

      23.       The discrimination and retaliation Plaintiff was subjected to was perpetrated, in

part, by one of Defendant’s employees with direct supervisory authority over Plaintiff.

      24.       Defendant knew or should have known of the discrimination and retaliatory

conduct because its supervisor(s) and members of management observed it and/or participated in

it.

      25.       The unlawful employment practices complained of in the above-mentioned

paragraphs were intentional. The unlawful employment practices complained of in the above-

mentioned paragraphs were done with malice or with reckless indifference to the statutory and/or

federally protected rights of Plaintiff.

      26.       Plaintiff has been damaged by Defendant’s illegal conduct.

      27.       Plaintiff has retained the services of undersigned counsel and has agreed to pay said

counsel reasonable attorneys’ fees.

                    Count I: Race Based Discrimination in Violation of Title VII

      28.       Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated in

Paragraphs 1-27, above.

      29.       At all times relevant to this action, Plaintiff was in a protected category under Title

VII because of his race, African American.

      30.       At all times material, Defendant employed fifteen (15) or more employees and

qualified as an employer within the meaning of Title VII.

      31.       Defendant is prohibited under Title VII from discriminating against Plaintiff
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because of her race with regard to discharge, employee compensation, and other terms, conditions,

and privileges of employment.

    32.        Defendant violated Title VII by discharging and discriminating against Plaintiff

based on his race.

    33.        Defendant intentionally discriminated against Plaintiff on the basis of his race.

    34.        As a direct and proximate result of Defendant’s unlawful and discriminatory

conduct in violation of Title VII, Plaintiff has suffered and continues to suffer, lost wages, lost

benefits, as well as severe mental anguish and emotional distress, including but not limited to

depression, humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-

confidence, and emotional pain and suffering, for which Plaintiff is entitled to an award of

monetary damages and other relief.

    35.        Defendant’s unlawful conduct in violation of Title VII was outrageous and

malicious, was intended to injure Plaintiff, and was done with conscious disregard of Plaintiff’s

civil rights, entitling Plaintiff to an award of exemplary and/or punitive damages.

                            Count II: Retaliation in Violation of Title VII

    36.        Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated in

Paragraphs 1-27, above.

    37.        Plaintiff engaged in protected activity under Title VII while employed by

Defendant.

    38.        Defendant intentionally retaliated against Plaintiff for engaging in protected

activity.

    39.        Defendant’s conduct violated Title VII.

    40.        Defendant’s discriminatory conduct, in violation of Title VII, has caused Plaintiff

to suffer a loss of pay, benefits, and prestige for which Plaintiff is entitled to damages.

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    41.        Defendant’s actions have caused Plaintiff to suffer mental and emotional distress,

entitling him to compensatory damages.

    42.        Defendant has engaged in discriminatory practices with malice and reckless

indifference to the Plaintiff’s federally protected rights, thereby entitling him to punitive damages.

           Count III: Unlawful Race Based Discrimination in Violation of Section 1981

    43.        Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated in

Paragraphs 1-27 above.

    44.        Defendant discriminated against Plaintiff in violation of Section 1981.

    45.        Based on the conduct described above, Defendant intentionally deprived Plaintiff

of the same rights as non-Black employees.

    46.        As a result of Defendants’ discrimination in violation of Section 1981, Plaintiff has

been denied employment opportunities providing substantial compensation and benefits, thereby

entitling Plaintiff to equitable monetary relief.

    47.        Plaintiff has also suffered anguish, humiliation, distress, inconvenience, and loss of

enjoyment of life because of Defendant’s actions, thereby entitling Plaintiff to compensatory

damages.

    48.        Defendants acted with malice and reckless indifference to Plaintiff’s federally

protected rights, thereby entitling him to an award of punitive damages.

                         Count IV: Retaliation In Violation of Section 1981

    49.        Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated in

paragraphs 1-27 above.

    50.        Plaintiff engaged in protected activity under Section 1981 while employed by

Defendant.

    51.        Defendant engaged in intentional retaliation against Plaintiff for Plaintiff’s

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participation in protected activity.

    52.           Defendant’s conduct violated Section 1981.

    53.           Defendant’s discriminatory conduct, in violation of Section 1981, has caused

Plaintiff to suffer a loss of pay, benefits, and prestige for which Plaintiff is entitled to damages.

    54.           Defendant’s actions have caused Plaintiff to suffer mental and emotional distress,

entitling Plaintiff to compensatory damages.

    55.           Defendant has engaged in discriminatory practices with malice and reckless

indifference to Plaintiff’s federally protected rights, thereby entitling Plaintiff to punitive damages.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, requests this Honorable Court:

       a)         Enter judgment requiring Defendant to pay back wages and back benefits found to

be due and owing at the time of trial, front-pay, compensatory damages, including emotional

distress damages, in an amount to be proved at trial, punitive damages, liquidated damages, and

prejudgment interest thereon;

       b)         Grant Plaintiff his costs and an award of reasonable attorneys’ fees (including

expert fees); and

       c)         Award any other and further relief as this Court deems just and proper.

                                            JURY DEMAND

          Plaintiff hereby requests a trial by jury on all triable issues herein.


                                                  Respectfully Submitted:
                                                  /s/ Gary Martoccio
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